Case 2:23-cv-00576-JRG-RSP Document 26-3 Filed 01/29/24 Page 1 of 1 PageID #: 490




                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     MARSHALL DIVISION

   WARNER RECORDS, INC., et al.,

                  Plaintiffs,                     Case No. 2:23-cv-00576-JRG-RSP

          v.                                      JURY TRIAL DEMANDED

   ALTICE USA, INC., et al.,                      ORAL ARGUMENT REQUESTED

                  Defendants.



                            Index of Exhibits to Wheeler Declaration
                       in Support of Defendants’ Motion to Transfer Venue

  Exhibit A     United States District Court for the Eastern District of New York Website

  Exhibit B     United States District Court for the Eastern District of Texas Website – Court
                Locator

  Exhibit C     Altice USA Form 10-K, dated February 23, 2023

  Exhibit D     Texas Secretary of State Business Organizations Inquiry – Friendship Cable of
                Arkansas, Inc., Friendship Cable of Texas, Inc., and TCA Communications, LLC
